
SHEPARD, Chief Justice.
Arturo Garcia-Torres was convicted of rape, attempted rape, and two counts of burglary and was sentenced to thirty-six years in prison. Garcia-Torres challenges the use of DNA evidence gathered when police obtained a cheek swab. The parties having passed over the question whether the swab was a search requiring separate probable cause, we analyze the issue under ordinary doctrine of the Fourth Amendment and Article 1, Section 11 of the Indiana Constitution. We affirm the conviction.
Facts and Procedural History
Garcia-Torres’s first victim was M.S., a twenty-one year old undergraduate attending Valparaiso University. On July 18, 2004, Garcia-Torres frantically rang the doorbell of M.S.’s apartment. When M.S. cracked the door to look outside, Garcia-Torres forced his way in. A violent struggle ensued, and M.S. sustained numerous injuries (including a bruised spleen) as well as damage to her apartment. After struggling for about two hours, M.S. was exhausted and no longer possessed the strength to keep Garcia-Torres at bay. *1231Garcia-Torres forced a sock into her mouth to silence her and then had vaginal intercourse with her, taking her virginity. When Garcia-Torres had finished he covered M.S. with a blanket, told her “it’s going to be okay,” and departed the scene. (Trial Tr. at 51.)
M.S. immediately called 911. M.S. was taken to Porter Memorial Hospital where genital swabs were taken. Valparaiso Police Detective Thomas Horn began investigating the rape. The investigation remained open, but without a suspect until Garcia-Torres struck again.
Garcia-Torre’s second victim was S.P., a graduate student at Valparaiso University. S.P.’s apartment was roughly half a mile from M.S.’s apartment. On June 11, 2005, S.P. awoke to the sound of her dog growling; she also heard a tapping at her window. She began to get up when Garcia-Torres leapt through the window and landed on her bed. S.P. began screaming for help and struggling with her attacker. A neighbor heard the screaming and called the police.
Garcia-Torres had just started to remove S.P.’s shorts when Valparaiso Police Officer Brian McDonald knocked forcefully on her door. When the officer announced himself, Garcia-Torres released S.P. S.P. opened the door for McDonald who ran into her bedroom just in time to see Garcia-Torres jump out a window. Garcia-Torres was not wearing pants, socks, or shoes. Two other Valparaiso Police officers waiting outside saw this leap out the window and chased after Garcia-Torres, but he eluded them.
After the attack, S.P. returned to the apartment with Detective John Ross. S.P. found a shoe in her bedroom that she had never seen before. A search of the area where officers had chased Garcia-Torres produced a cell phone that was registered to Ray Garcia, Garcia-Torres’s roommate. Ray Garcia told officers that he had sold the phone to Garcia-Torres. Ray Garcia and another roommate were able to identify the shoe found in S.P.’s apartment as being similar to shoes owned by Garcia-Torres. Garcia-Torres matched the description of the attacker given by S.P. These revelations made Garcia-Torres the prime suspect, and the police picked him up and took him to the police station.
Garcia-Torres was placed in an interview room where Officer Baldazo of the Lake Station Police Department, who was used as in interpreter, attempted to read the Miranda warnings in Spanish. Detective Ross interviewed Garcia-Torres. He confessed to attempting to rape S.P. (Mot. to Suppress Hr’g Tr. at 62, May 1, 2006; Mot. to Suppress Hr’g State’s Ex. 1, May 1, 2006.) Garcia-Torres then directed officers to S.P.’s apartment and other locations as they drove around Valparaiso. After being interviewed by Detective Ross, Garcia-Torres was informed that he was being detained.
After the interview with Detective Ross, Detective Horn swabbed the inside of Garcia-Torres’s cheek for DNA. Officer Bal-dazo described the procedure to Garcia-Torres and asked him “Is it okay?” (Mot. to Suppress Hr’g Tr. at 54, Apr. 5, 2007.) Garcia-Torres consented and opened his mouth. Garcia-Torres’s DNA matched both the DNA taken from M.S.’s rape kit and some DNA found on the shoe left in S.P.’s apartment.
Detective Horn then interviewed Gar-eia-Torres. Garcia-Torres agreed to show the officers where the rape occurred. Garcia-Torres again got in a car with officers and directed them to M.S.’s apartment. He then confessed to raping M.S. (Mot. to Suppress Hr’g State’s Ex. 4, May 1, 2006.) The trial court subsequently suppressed all of Garcia-Torres’s incrimi*1232nating statements because the Miranda warnings had not been accurately translated into Spanish.1 On the other hand, the trial court denied Garcia-Torres’s motion to suppress the DNA evidence.
Garcia-Torres was convicted of one count of rape,2 one count of attempted rape,3 and two counts of burglary.4 The court sentenced Garcia-Torres to thirty-six years in prison. The Court of Appeals affirmed. Garcia-Torres v. State, 914 N.E.2d 268 (Ind.Ct.App.2009). We granted transfer and now affirm.5
Standard of Review
We review de novo a trial court’s ruling on the constitutionality of a search. Campos v. State, 885 N.E.2d 590, 596 (Ind.2008).
I. Is a Cheek Swab a Search?
The obvious threshold question is whether a cheek swab taken from a person under arrest is a search requiring its own separate warrant or other justification. A cheek swab can be analogized to two lines of cases, those governing intrusions into the body, which suggest that a cheek swab is a search, and those governing fingerprinting and other physical identifiers, which suggest that a cheek swab is not a search. Most courts that have addressed the constitutionality of cheek swabs have concluded that a cheek swab is a “search” for the purpose of the Fourth Amendment, and have reached this conclusion with relatively little discussion. See, e.g., United States v. Pool 621 F.3d 1213 (9th Cir.2010); Louisiana v. Lee, 976 So.2d 109, 124 (La.2008).
Biological Intrusions
In Schmerber v. California, the United States Supreme Court held that a blood test to check blood alcohol level was a search. 384 U.S. 757, 86 S.Ct. 1826, 16 L.Ed.2d 908 (1966). Law enforcement officer. arrested Schmerber for driving under the influence of alcohol and took him to a hospital, where a police officer directed a doctor to draw Schmerber’s blood despite the arrestee’s objection. Analysis of the sample revealed a high blood alcohol content. The Court held that the search was reasonable, in part, because blood tests are commonplace and “involve[] virtually no risk, trauma, or pain.” Id. at 771, 86 S.Ct. 1826. It stated that “the Constitution does not forbid the States minor intrusions into an individual’s body” although it stressed the narrowness of its holding. Id. at 772, 86 S.Ct. 1826.
In the years after Schmerber, the Court examined several more bodily intrusion cases. In Cupp v. Murphy, the police took fingernail scrapings without a warrant from a suspect who was being interviewed, but was not yet under arrest. 412 U.S. 291, 292, 93 S.Ct. 2000, 36 L.Ed.2d 900 (1973). The Court declared that this was a reasonable search, despite the suspect’s objection to the procedure. Id. at 296, 93 S.Ct. 2000. In Bell v. Wolfish, the Court held that visual body-cavity inspections of pretrial detainees were searches, but found the searches reasonable. 441 U.S. 520, 558-59, 99 S.Ct. 1861, 60 L.Ed.2d 447 (1979). In Winston v. Lee, prosecutors wanted a court to order the defendant to *1233undergo surgery requiring general anesthetic so that a bullet lodged in his chest could be used as evidence. 470 U.S. 753, 755, 105 S.Ct. 1611, 84 L.Ed.2d 662 (1985). The Court held that such an intrusion would be a search and an unreasonable one. Id. at 766, 105 S.Ct. 1611.
These bodily intrusion cases culminated in Skinner v. Railway Labor Executives’ Ass’n, 489 U.S. 602, 109 S.Ct. 1402, 103 L.Ed.2d 639 (1989). At issue in that case were federal regulations that required railroads to take blood and urine samples from employees after railroad accidents and permitted the railroads to require their employees to submit to breath and urine tests under certain circumstances. Id. at 609-11, 109 S.Ct. 1402. The regulations required the railroads to turn the samples over to federal authorities.
The Court held that all three types of tests were searches. It noted that the blood tests required “penetration beneath the skin,” an aspect of the procedure in Schmerber which had led to the finding of search. Id. at 616, 109 S.Ct. 1402. In holding that breathalyzer are tests searches, the Court reasoned that breathalyzer tests “generally require[] the production of alveolar or ‘deep lung’ breath for chemical analysis implicating] similar concerns about bodily integrity.” Id. at 616-17, 109 S.Ct. 1402 (citations omitted). Although taking a urine sample does not involve an intrusion into the body, the Court held taking such a sample was a search because it intruded on what is normally a private act and because it could reveal private medical facts. Id. at 617, 109 S.Ct. 1402.
This Court has also addressed whether biological testing is a search. In McClain v. State, the defendant raped a child and infected her with gonorrhea. 274 Ind. 250, 410 N.E.2d 1297 (1980). Police obtained a warrant to swab the defendant’s penis. We concluded after a thorough discussion that this swab was a search. Although the swab did not involve a probing beneath the skin, it did involve more of an intrusion than fingerprinting because of the potential for humiliation and anxiety involved. Id. at 254-55, 410 N.E.2d at 1300-01. Thus we held that the swab was a search for the purposes of the Fourth Amendment.
Non-Search Examples
Another analytical field involving information taken from a suspect or arrestee involves cases where various techniques are declared not to be searches requiring a separate finding of probable cause.
Fingerprinting a person lawfully arrested, for example, is not a search implicating the Fourth Amendment. Palmer v. State, 679 N.E.2d 887, 892 (Ind.1997). Courts have long recognized that law enforcement can take biological measurements and photographs of arrestees to aid in identification. State ex rel. Bruns v. Clausmeier, 154 Ind. 599, 601-02, 57 N.E. 541, 542 (1900). The “taking of fingerprints under ordinary circumstances is not an indignity,” wrote Justice Richman for a unanimous bench. State ex rel. Mavity v. Tyndall, 224 Ind. 364, 377, 66 N.E.2d 755, 760 (1946). The procedure is so commonplace, that even in the 1940’s it was a regular procedure in maternity wards. The Court noted that the practice is not intrusive, and that it is required for numerous normal activities from joining the military, to obtaining a passport, to gaining various public licenses. See id. at 378, 66 N.E.2d at 760.
The U.S. Supreme Court has never expressly ruled that fingerprinting is not a search, but what it has said about fingerprinting and other physical identifiers is instructive. The Court held in United States v. Dionisio, for example, that requiring a suspect to provide a voice exemp*1234lar was not a search. 410 U.S. 1, 14, 93 S.Ct. 764, 35 L.Ed.2d 67 (1972). What Justice Stewart called the Fourth Amendment’s “interests in human dignity” were held immeasurably further removed from the intrusion in Schmerber, much more similar to fingerprinting. Id. at 14-15, 93 S.Ct. 764 (quoting Schmerber v. California, 384 U.S. 757, 769-70, 86 S.Ct. 1826, 16 L.Ed.2d 908 (1966)). The same day that Dionisio was decided, the Court also held that requiring a person to submit a handwriting exemplar was not a search. United States v. Mara, 410 U.S. 19, 22, 93 S.Ct. 774, 35 L.Ed.2d 99 (1972).
In Davis v. Mississippi the Court did require suppression of fingerprints taken from the defendant because the police used a dragnet to detain and fingerprint a number of individuals even though there was no individualized suspicion linking them to the crime. 394 U.S. 721, 89 S.Ct. 1394, 22 L.Ed.2d 676 (1969) The Court focused on the seizure of the defendant’s person rather than on the taking of the fingerprints. About such seizures (in circumstances other than the defendant’s) the Court said:
Detentions for the sole purpose of obtaining fingerprints are no less subject to the constraints of the Fourth Amendment. It is arguable, however, that, because of the unique nature of the fingerprinting process, such detentions might, under narrowly defined circumstances, be found to comply with the Fourth Amendment even though there is no probable cause in the traditional sense. Detention for fingerprinting may constitute a much less serious intrusion upon personal security than other types of police searches and detentions. Fingerprinting involves none of the probing into an individual’s private life and thoughts that marks an interrogation or search. Nor can fingerprint detention be employed repeatedly to harass any individual, since the police need only one set of each person’s prints. Furthermore, fingerprinting is an inherently more reliable and effective crime-solving tool than eyewitness identifications or confessions and is not subject to such abuses as the improper line-up and the “third degree.” Finally, because there is no danger of destruction of fingerprints, the limited detention need not come unexpectedly or at an inconvenient time.
Id. at 727, 89 S.Ct. 1394 (emphasis added).
The Court later emphasized in Dunaway v. New York that the problem in Davis was not with the fingerprinting itself, but rather that the fingerprints had to be suppressed because the initial seizure of Davis and the accompanying interrogation were done without probable cause. 442 U.S. 200, 215, 99 S.Ct. 2248, 60 L.Ed.2d 824 (1979). After Dunaway and Davis, the question of whether a “ ‘narrowly circumscribed procedure for obtaining’ the fingerprints of suspects without probable cause” is constitutional remained open. Id. (quoting Davis, 394 U.S. at 728, 89 S.Ct. 1394).
The Court next addressed fingerprinting in Hayes v. Florida, 470 U.S. 811, 105 S.Ct. 1643, 84 L.Ed.2d 705 (1985). Police suspected the defendant committed a rape but had no probable cause to believe that he had done so. They took him from his home to the police station without his consent and fingerprinted him. Id. at 812-13, 105 S.Ct. 1643. The Court suppressed the fingerprints, relying as in Dunaway on the manner of the seizure rather than the taking of the fingerprints. The Court was quick to add that nothing in its decision
implies that a brief detention in the field for the purpose of fingerprinting, where there is only reasonable suspicion not amounting to probable cause, is neces*1235sarily impermissible under the Fourth Amendment.... There is support in our cases for the view that the Fourth Amendment would permit seizures for the purpose of fingerprinting, if there is reasonable suspicion that the suspect has committed a criminal act, if there is reasonable basis for believing that fingerprinting will establish or negate the suspect’s connection with that crime, and if the procedure is carried out with dispatch.
Id. at 816-17, 105 S.Ct. 1643. As recently as 2003, the Court has reiterated that the possibility remains open for seizures to secure fingerprints based on less than probable cause. Kaupp v. Texas, 538 U.S. 626, 630 n. 2, 123 S.Ct. 1843, 155 L.Ed.2d 814 (2003).
Thus, the thread running through the Court’s decisions on fingerprinting has been a focus on the seizure of the person preceding the fingerprinting. It has never hinted that fingerprinting itself is a search subject to the Fourth Amendment and indeed it has expressly held that other physical exemplars used to identify suspects are not searches. Dionisio, 410 U.S. 1, 93 S.Ct. 764 (voice exemplars); Mara, 410 U.S. 19, 93 S.Ct. 774 (handwriting exemplars). These cases are in accord with our holding in Palmer v. State that fingerprinting someone properly arrested is not a search.
This dividing line has been the central point in the federal decisions on statutes that require DNA samples be taken from persons for whom there is probable cause to arrest or otherwise search. See United States v. Pool, 621 F.3d 1213, 1219 (9th Cir.2010) (Callahan, J.) (noting that “there must be some legitimate reason for the individual having less than the full rights of a citizen” before the totality-of-the-circumstances test could be applied to a war-rantless DNA test).
Cheek swabs are not the same as fingerprints, but they are a long way from the bodily intrusions condemned in Schmerber and its progeny. A cheek swab does involve an intrusion into the body, but the intrusion is not as severe as the piercing of the skin as in Schmerber, but is probably at least as intrusive as the breathalyzer tests that were searches in Skinner. The method of swabbing also bears striking similarity to the manner of search in McClain. &gt; But that is the end of the similarity to those cases.
The cheek swab for DNA also resembles fingerprints, and some of the similarities to fingerprinting carry cheek swabs away from the analogy of the Schmerber line of cases. For example, cheek swabs are not particularly intrusive. The swab .in this case took only about twelve seconds and caused Garcia-Torres no apparent discomfort. This is certainly less time than it would take to fingerprint Garcia-Torres. Although the level of discomfort for both procedures is certainly trivial, it seems that swabbing causes less discomfort than fingerprinting, which requires manipulating the fingers in a manner that is often uncomfortable. Cheek swabs are also easily distinguishable from the penile swab in McClain. For much the same reason that the urine samples were declared searches in Skinner despite the absence of bodily intrusion, the sexual and excretaory nature of penile swab is a far greater intrusion on a person’s privacy than a cheek swab.
Where the DNA swab tracks closest to fingerprinting and furthest from Schmer-ber is in its purpose. Although both DNA and fingerprints can be used to link suspects to crime scenes, their main purpose is identification. Fingerprinting is a routine booking procedure, and the fingerprints taken are not always used at trial. The evidence gathered in the Schmerber line of cases could be used only as substan*1236tive evidence of guilt in the particular case for which it was gathered. In Schmerber, the central object of the blood draw was to prove the defendant was intoxicated. Similarly, the fingernail scrapings in Cupp showed that the defendant strangled his wife. Recovering the bullet in Winston would have shown that he was involved in a particular armed robbery. In the words of Justice Stewart, “fingerprints are not ‘evidence’ in the conventional sense.” Davis, 394 U.S. at 730, 89 S.Ct. 1394 (Stewart, J., dissenting). DNA seems to have more in common with fingerprint evidence than with blood alcohol level.
Garcia-Torres argues that a DNA extraction is a great intrusion because DNA can reveal genetic information beyond identity such as paternity or maternity6 and information concerning “genetically influenced diseases, conditions, and behaviors.” (Pet. to Transfer at 4-5.) This aspect of DNA information is oft repeated by commentators.7 In this case, two witnesses testified at length about how the samples taken from Garcia-Torres were used. (Trial Tr. at 330-50, 354-69.) There is no evidence in the record that the DNA from Garcia-Torres’s swab was or will be used for any purpose other than comparing it to the samples in the rape kit and from the shoe.8 Use for other purposes would necessitate further analysis.
Taken as a whole, the cases above appear to reflect a range of analytical treatment that varies with degree of intrusion and the purpose for using the thing demanded. This range begins with searches requiring individualized showings of probable cause and approval from a magistrate — to extractions still called searches but declared generally reasonable under most circumstances not requiring judicial approval in advance — to demands for information or material declared not to be searches at all and not requiring a separate determination of anything greater than reasonable suspicion.
Fourth Amendment principles seem to suggest that DNA has more in common *1237with fingerprints than it does with blood alcohol content, but like many courts, the parties to this appeal have taken for granted that the swab was a search requiring its own separate probable cause proceedings, even for a suspect in lawful custody for rape. We thus proceed to the State’s leading defense of admitting the DNA evidence — that Garcia-Torres consented to the cheek swab.
II. The Cheek Swab was Taken under a Valid Consent
The Fourth Amendment protects people from unreasonable searches and seizures. Normally, the Fourth Amendment is satisfied when police obtain a warrant. A warrant is not required, however, when there is consent to search. Consent to search is valid when it is given voluntarily, voluntariness is a question of fact determined from the totality of the circumstances. Schneckloth v. Bustamonte, 412 U.S. 218, 227, 93 S.Ct. 2041, 36 L.Ed.2d 854 (1972). Voluntariness is not vitiated merely because the defendant is in custody. United States v. Watson, 423 U.S. 411, 424, 96 S.Ct. 820, 46 L.Ed.2d 598 (1976).
Garcia-Torres voluntarily consented to the cheek swab. Officer Baldazo described the procedure and asked Garcia-Torres in Spanish “[i]s it okay?” (Mot. to Suppress Hr’g Tr. at 54, Apr. 5, 2007.) Garcia-Torres responded in the affirmative, speaking Spanish. (Mot. to Suppress Hr’g State’s Ex. 1, May 1, 2006.) Officer Baldazo translated Garcia-Torres’s affirmative statement as “no problem.” (Mot. to Suppress Hr’g State’s Ex. 1, May 1, 2006.) When Detective Horn entered the interview room with the swab, Garcia-Torres opened his mouth. (Mot. to Suppress Hr’g State’s Ex. 1, May 1, 2006.) He cooperated and was helpful through the entire procedure and was grinning broadly after the swab was complete. (Mot. to Suppress Hr’g State’s Ex. 1, May 1, 2006.) Shortly before the swab was taken, Garcia-Torres told officers “it was his fault” and that he “just wants to tell the truth.” (Mot. to Suppress Hr’g State’s Ex. 1, May 1, 2006.) After the swab, he told officers “I feel sorry for what I did,” and that he signed the Miranda waiver because he “wanted to do what’s right.” (Mot. to Suppress Hr’g State’s Ex. 1, May 1, 2006.) He also said that he felt an attorney was not necessary because “he knew what he did was wrong and if he goes to jail or gets deported to Mexico or anything like that, he accepts it.” (Mot. to Suppress Hr’g State’s Ex. 4, May 1, 2006.)
Nothing in this series of events suggests that Garcia-Torres’s consent was given involuntarily. His statements and actions indicate that he wanted to cooperate with the police because he felt remorseful and was willing to accept responsibility for his actions.
Garcia-Torres argues that the confession was not voluntary because the Miranda warnings were not sufficient.9 (Br. of Appellant at 8.) Miranda warnings are designed to protect a suspect’s Fifth Amendment right not to incriminate himself rather than a suspect’s Fourth Amendment right to be free from unreasonable searches and seizures. Although a failure of Miranda warnings is a factor to be considered in the totality of the circumstances analysis, it is not dispositive. The Fourth Amendment does not require Miranda warning before officers ask for consent to search.
*1238Garcia-Torres also argues that the consent was not voluntary because he was only eighteen years old, an immigrant, and had only six years of education in Mexico. (Br. of Appellant at 8.) In Colorado v. Connelly, the Supreme Court held that a defendant’s mental state or condition (other than a mental state caused by police coercion) is not a factor in determining voluntariness. 479 U.S. 157, 107 S.Ct. 515, 93 L.Ed.2d 473 (1986). The factors raised by Garcia-Torres do not establish any “coercive police activity,” which the Court has said is “a necessary predicate to the finding that a confession is not ‘voluntary’ within the meaning of the Due Process Clause of the Fourteenth Amendment.” Id. at 167, 107 S.Ct. 515.
Looking at the totality of the circumstances, we hold that Garcia-Torres’s consent was voluntary. As such, the swab was not a violation of the Fourth Amendment.
III. A PiHle Warning Was Not Required
Garcia-Torres argues that he was entitled to a Pirtle advisement before the swab was taken. In Pirtle v. State, we held that a person held in police custody is entitled to the presence and advice of counsel prior to consenting to a search and that the right, if waived, must be explicitly waived. 263 Ind. 16, 29, 323 N.E.2d 634, 640 (1975).
As a threshold matter we must determine whether Garcia-Torres was in custody when he was asked to consent. Although there is some uncertainty whether Garcia-Torres was in custody when initially brought to the police station, he was clearly in custody when the swab was taken. After confessing to breaking into S.P.’s apartment and attempting to rape her, Garcia-Torres asked whether he would be detained. The officers told him that they would indeed be detaining him. The swab was taken after this exchange.
Our constitutional protections are intended to protect people from the most serious intrusions into privacy. PiHle itself involved one of the weightiest of these interests — the search of a home. Officers arrested Pirtle for possessing a stolen car and gave him his Miranda rights. At the police station Pirtle asked for an attorney. Later, another officer who was unaware that Pirtle had asked for an attorney began to question Pirtle about an unrelated murder. The officer asked for consent to search Pirtle’s home, and he gave it and signed a search waiver. Police found evidence implicating him in the murder. Pirtle, 263 Ind. at 22-23, 323 N.E.2d at 637. We suppressed the evidence on grounds that Pirtle was not advised that he had the right to consult an attorney about giving consent to search.
PiHle and the ensuing cases have applied this rule only to the weightiest intrusions. This Court has suppressed evidence based on PiHle when the police searched either a home or a vehicle. E.g., Pirtle, 263 Ind. 16, 323 N.E.2d 634 (home search); Sellmer v. State, 842 N.E.2d 358 (Ind.2006) (vehicle search). The Indiana Court of Appeals has held that PiHle does not apply to certain minimally intrusive searches. Wilkerson v. State, 933 N.E.2d 891 (Ind.Ct.App.2010) (PiHle not applicable to pat down for weapons permissible under Terry v. Ohio, 392 U.S. 1, 88 S.Ct. 1868, 20 L.Ed.2d 889 (1968)); Datzek v. State, 838 N.E.2d 1149, 1158-60 (Ind.Ct.App.2006) (Pirtle does not apply to chemical blood testing for blood alcohol content); Schmidt v. State, 816 N.E.2d 925, 942-44 (Ind.Ct.App.2005) (Pirtle does not apply to chemical breath tests); Ackerman v. State, 774 N.E.2d 970, 979-82 (Ind.Ct.App.2002) (PiHle does not apply to field sobriety tests).
*1239As in those cases, the intrusion here is slight. The swabbing caused no discomfort, and Garcia-Torres has virtually no legitimate interest in concealing his identity following his lawful arrest. This Court has long held that the police are allowed to take fingerprints and other identifying physical information from those lawfully arrested. Palmer v. State, 679 N.E.2d 887, 892 (Ind.1997) (fingerprinting); State ex rel. Bruns v. Clausmeier, 154 Ind. 599, 601-02, 57 N.E. 541 (1900) (other physical identifying information). “[W]hen a suspect is arrested upon probable cause, his identification becomes a matter of legitimate state interest and he can hardly claim privacy in it.” Jones v. Murray, 962 F.2d 302, 306 (4th Cir.1992).
The various interests at stake on occasions when we have required a Pirtle advisement are not present here, so we do not extend that rule to these circumstances.
Conclusion
Therefore we affirm the judgment of the trial court.
DICKSON, SULLIVAN, and DAVID, JJ., concur.
RUCKER, J., dissents with separate opinion.

. The State has not challenged the suppression of the confessions.


. Ind.Code § 35-42-4-i (2008).


. Ind.Code § 35-42-5-1 (2008).


. Ind.Code § 35-43-2-1 (2008).


.Aside from the DNA swab, Garcia-Torres argued that he was entitled to have charges related to M.S. severed from charges related to S.P. We summarily affirm the Court of Appeals on this issue under Indiana Appellate Rule 58(A)(2).


. This concern seems minimal. Paternity is of course a matter of legitimate state concern. Ind.Code § 31-14-1-1 (2008). Our law already provides for compulsory genetic testing in paternity actions, including those brought by the State. Ind.Code §§ 31-14-4-1 &amp; -6-1 (2008).


. A similar criticism could be leveled at fingerprinting. The technological breakthrough making fingerprinting useful came from attempts to use fingerprints to further the eugenics movement. Simon A. Cole, Fingerprint Identification and the Criminal Justice System: Historical Lessons for the DNA Debate, in DNA and the Criminal Justice System: The Technology of Justice 63, 66 (David Lazer, ed.2004). Scientists were attempting to link fingerprint patterns to criminality, disease, and race. Id. at 66-67. It appears that science has been able to link fingerprint patterns to race and ethnicity, and attempts to link fingerprint patterns to behavioral traits are riot entirely a thing of the past. Id. at 76-77. One commentator argues
[h]ad even a fraction of the scientific resources devoted to researching links between genes and disease, race, and behavior been devoted to researching links between fingerprint patterns and disease, race, and behavior, the latter might seem as significant to us as the former. The conception of fingerprints as useful only for identification is not a natural fact, but a historical achievement.
Id. at 77 (emphasis in original).


.It appears the DNA used for testing is typically what is called "junk DNA,” i.e., DNA that is unique to individuals, but does not contain coding for any genetic traits. United Slates v. Kincade, 379 F.3d 813, 818 (9th Cir.2004). There remains the possibility that junk DNA might eventually be linked to genetic traits. See id. at 818 n. 6. This possibility is speculative at best. See United States v. Pool, 621 F.3d 1213, 1221 (9th Cir.2010). There is no evidence in the record stating whether the DNA taken from Garcia-Torres was junk DNA or some other DNA.


. Garcia-Torres also argues that the DNA evidence should have been suppressed because it was inextricably bound to the suppressed confession. We summarily affirm the Court of Appeals on this point. Ind.App. R. 58(a)(2).

